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15     Snap Inc.
16                               UNITED STATES DISTRICT COURT
17                          CENTRAL DISTRICT OF CALIFORNIA
18
      CONVERGENT ASSETS LLC,                      Case No. 2:24-cv-0977-WLH-JDE
19
20                               Plaintiff,
21                 v.                             STIPULATION OF DISMISSAL
22    SNAP INC.,                                  WITH PREJUDICE
23                               Defendant.
24                                                Judge: Honorable Wesley L. Hsu
25
26
27          Pursuant to FED. R. CIV. P. 41(a)(1)(A)(ii) and (c), Plaintiff Convergent Assets
28    LLC and Defendant Snap Inc. hereby stipulate to the dismissal of all claims and



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1     counterclaims asserted in this action between Plaintiff Convergent Assets LLC and
2     Defendant Snap Inc. WITH PREJUDICE with each Party to bear its own costs, expenses,
3     and attorneys’ fees.
4
5
6     DATED: April 10, 2024              Direction IP Law
7                                  By:   /s/ David R. Bennett
8                                        David R. Bennett
                                         Attorneys for Plaintiff
9
                                         Convergent Assets LLC
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11
12    DATED: May 3, 2024                 Bunsow De Mory LLP
13
                                   By:   /s/ Aaron R. Hand
14                                       Aaron R. Hand
15                                       Attorneys for Plaintiff
                                         Convergent Assets LLC
16
17
18
19    DATED: April 10, 2024              Winston & Strawn LLP
20
                                   By:   /s/ Kelly C. Hunsaker
21
                                         Kelly C. Hunsaker
22                                       Attorneys for Defendant
23                                       Snap Inc.

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